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  1                                                                 JS-6
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  3
  4                         UNITED STATES DISTRICT COURT

  5          CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION

  6
       Christina V. Le,                                            Case No.
  7                                                          EDCV 18-1564-JGB (SPx)
                                             Plaintiff,
  8
  9                 v.
                                                                    JUDGMENT
10
11     Richard V. Spencer
12                                        Defendant.
13
14    TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
15
            Pursuant to the Order filed concurrent herewith,
16
            IT IS HEREBY ADJUDGED that Plaintiff’s Complaint is dismissed without
17
      leave to amend and this action is dismissed with prejudice.
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22     Dated: April 24, 2019
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25
26                                            THE HONORABLE JESUS G. BERNAL
                                              United States District Judge
27
28
